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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                       SAVANNAH DIVISION



UNITED STATES OF AMERICA,            )

V.                                   ) Case No . CR407-037

ISIDRO PULIDO-TEJEDO, an d
JOSE MARTIN OROZCO-CUELLAR, )

        Defendants .

                               ORDER

        The Court has today entered a Report and Recommendation

addressing defendant Orozco-Cuellar's motion to suppress his post-

arrest statements on the ground that they were the product of a

custodial interrogation not preceded by the warnings required in

Miranda v . Arizona, 384 U.S. 436 (1966) . The resolution of this

question was based upon a statement of the facts stipulated to by

the parties in their respective briefs .

        Defendant's initial suppression motion also suggests that his

statements were "involuntarily given" and requests a pretrial
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hearing pursuant to Jackson v. Denno, 478 U.S. 368 (1964) . Doc.

73, at 9, 10 . At the earlier motions hearing the parties did not

specifically address this issue, and there is nothing in the record to

indicate that the parties intended their stipulation to encompass

both the Miranda and voluntariness questions .

     The law is clear that "[a] Jackson[ v. Denno ] hearing is

`constitutionally mandated for a defendant who timely urges that

his confession is inadmissible because not voluntarily given ."'

United States v . Mostellar , 165 Fed. Appx. 831 (11th Cir . 2006)

(quoting United States v . Davidson , 768 F .2d 1266, 1270 (11th Cir .

1985) (emphasis deleted)) . "The voluntariness hearing `must

afford the defendant an opportunity to testify regarding the

inculpatory statement out of the jury's presence without prejudice

to his right not to take the stand in his defense ."' Davidson, 768

F .2d at 1270 . The requirement of a voluntariness hearing is

codified by 18 U.S .C . § 3501(a) . The Court, therefore, will schedule

an evidentiary hearing to address defendant's specific contention

that his statement to the arresting officer was given involuntarily .

If Orozco-Cuellar is no longer asserting that his statements wer e



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involuntary, or if he is willing to concede that all facts pertaining to

the voluntariness issue are set forth in the parties' existing

stipulation, he may so notify the Court in writing within twenty

days of the entry of this Order and thereby waive his right to a

Jackson v. Denno hearing.

      SO ORDERED this I_ day of June, 2007 .



                                    UNYTEU STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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